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   1                       UNITED STATES DISTRICT COURT

   2          CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

   3           HONORABLE ANDRÉ BIROTTE JR., U.S. DISTRICT JUDGE

   4

   5    CHELSEA HAMILTON,               )
        INDIVIDUALLY AND ON BEHALF OF   )
   6    ALL OTHERS SIMILARLY SITUATED,  )
        AND ALYSSA HERNANDEZ,           )
   7    INDIVIDUALLY AND ON BEHALF OF   )
        ALL OTHERS SIMILARLY SITUATED,  )
   8                                    )
                        PLAINTIFFS,     )
   9                                    )
                  vs.                   ) No. CV 17-1415-AB
  10                                    )
        WAL-MART STORES, INC., A        )
  11    CORPORATION, WAL-MART           )
        ASSOCIATES, INC., A             )
  12    CORPORATION AND DOES 1 THROUGH )
        50, INCLUSIVE,                  )
  13                                    )
                       DEFENDANTS.      )
  14    ________________________________)

  15

  16

  17                  REPORTER'S TRANSCRIPT OF PROCEEDINGS

  18                          FRIDAY, MARCH 15, 2019

  19                                  9:18 A.M.

  20                          LOS ANGELES, CALIFORNIA

  21

  22    ____________________________________________________________

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                                                                              2

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  21

  22

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  24

  25


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   1            LOS ANGELES, CALIFORNIA; FRIDAY, MARCH 15, 2019

   2                                  9:18 A.M.

   3                                   - - -

   4                THE CLERK:    Calling CV 17-1415-AB, Chelsea

   5    Hamilton versus Wal-Mart Stores, Inc., et al.

   6                Counsel, please step forward and state your

   7    appearances.

   8                MR. YOON:    Good morning, Your Honor.      Kenneth Yoon

   9    for plaintiff.

  10                THE COURT:    Good morning.

  11                MR. CLEAVER:    Good morning, Your Honor.

  12    Sam Cleaver for plaintiffs.

  13                THE COURT:    Good morning.

  14                MS. YASUDA:    Good morning, Your Honor.

  15    Stephanie Yasuda, also on behalf of plaintiffs.

  16                THE COURT:    Good morning.

  17                MR. LEE:    Good morning.     Brian Lee also on behalf

  18    of plaintiff.

  19                THE COURT:    Good morning.

  20                MR. KEMPLE:    Good morning, Your Honor.      My name is

  21    Mark Kemple.    I am here on behalf of defendant.        I am joined

  22    by Matthew Gershman, my partner; Leigh Anne Yeargan from

  23    Wal-Mart; Naomi Beer, my partner; and Bryan Patton.

  24                THE COURT:    All right.    Good morning to you all.

  25                I have got a number of things we need to discuss


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   1    today.    I did issue a tentative with respect to the motions

   2    in limine.

   3                All right.    So it looks like we have a trial set

   4    for April the 2nd.      I'm assuming that that date is still

   5    good for counsel.     We're clear on that date so unless there

   6    is some strong reason not to, we'll proceed on the 2nd.

   7                Any issues with that, Counsel?

   8                MR. YOON:    No, Your Honor.    We have some

   9    scheduling witness issues but trial -- we're ready for

  10    April 2nd.

  11                THE COURT:    Great.

  12                From the defense?

  13                MR. KEMPLE:    No, Your Honor, though, there are

  14    rather big issues as to what claims would be tried on

  15    April --

  16                THE COURT:    We're going to try to deal with those

  17    today, although not particularly happy with what I have seen

  18    thus far as it relates to the efforts to meet and confer.

  19                There are a lot of issues here, and some of them I

  20    am just not going to go over today just because I just think

  21    there hasn't really been a meaningful effort to meet and

  22    confer.

  23                At least as I read the Local Rules, it says to

  24    discuss preferably meeting in person.        This back-and-forth

  25    tennis match of letters, answer my questions first, answer


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   1    the -- the other side answers them, they're not good enough,

   2    that just doesn't seem meaningful to me.

   3                I think you have very voluminous disputed

   4    instructions some of which we certainly need to research,

   5    but you all need to meet and confer and get together again.

   6    I am going to order that you do so and look at these

   7    pretrial filings again and submit something to me by

   8    March 25th.

   9                I am just going to let you all know just the way I

  10    deal with these issues is if you can't get them resolved,

  11    we'll just do them every night at the end of trial, and

  12    we'll stay here as late as it takes to get them done.           If

  13    you want to spend your time in the evenings dealing with

  14    this stuff as opposed to getting ready for the next morning,

  15    so be it.    I'm here, and we'll do it.

  16                As it relates to trial and the time limits you may

  17    or may not have heard I issue time limits for each side.

  18    Basically, when the parties are at the lectern, the clock is

  19    ticking.    I have a chess clock here and vice versa.         So

  20    whenever the party is up at the lectern the time is running

  21    against their side.

  22                I believe in the final pretrial conference order

  23    the parties have indicated they need 15 days for trial.

  24    That's not going to happen here.        Based on what I have

  25    reviewed and the motions in limine, it seems like there is a


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   1    lot of cumulative evidence that's going to be presented

   2    here.

   3                I am going to give each side 12 hours to present

   4    their evidence.     That includes direct and cross-examination.

   5    I think that's more than enough time to present your case.

   6                Each side will have 30 minutes for opening

   7    statements, and I will give you 45 minutes for closing

   8    arguments.    Because plaintiff has the burden of proof, they

   9    get an additional ten minutes for rebuttal.

  10                All right.    Any issues, questions, concerns with

  11    respect to the time limits from the plaintiff?

  12                MR. YOON:    No.   I am sure you will get to anything

  13    else.

  14                THE COURT:    All right.

  15                From the defense.

  16                MR. KEMPLE:    No issues, Your Honor.

  17                THE COURT:    All right.    So let's start talking

  18    about some of these claims that are at issue here.           At least

  19    how I understand it, I am going to lay this all out, and

  20    then we can discuss and see where I may have missed

  21    something.

  22                The decertified claims I have as the nonpayment of

  23    overtime wages for the walking after clocking out and before

  24    security, interruption of meal breaks claims.          Those are the

  25    decertified claims.


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   1                The remaining certified claims are the

   2    discouragement of the meal breaks, the nonpayment of

   3    overtime wages only for the alternative workweek schedule

   4    claim.   We have the waiting time claim and the wage

   5    statement claim.

   6                And then we still have some individual claims as

   7    it relates to Miss Hamilton and Miss Hernandez.          We have the

   8    denial of the second meal period claim and then the rest

   9    break claim, I guess, for the denial of the third break and

  10    the denial of the minus ten minutes of rest.

  11                So that's what I have remaining.       Does either side

  12    have any points or disagreements with respect to that?

  13                MR. YOON:    Your Honor, for plaintiff, on the

  14    individual claims we have the decertified off -- I'm sorry,

  15    the claim that the Court decertified with respect to

  16    nonpayment of overtime for walking and security check still

  17    remains as an individual claim because the plaintiffs

  18    brought that claim on behalf of themselves and the class.

  19    And by decertifying it, the individual claim remains though

  20    the class claim is no longer at issue.

  21                On top of that, we still have the PAGA issue which

  22    I --

  23                THE COURT:    I am going to deal with that next.

  24                MR. YOON:    Our point is just that -- when the

  25    Court decertified the walking and security check and


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   1    technically the interruption of the exactly 30-minute meal

   2    break as well, to be technical, the individual claim

   3    remains.

   4                THE COURT:    So your position is that the

   5    individual claim remains as it relates to the nonpayment of

   6    overtime wages as it relates to Miss Hamilton.

   7                MR. YOON:    Miss Hernandez as well.

   8                THE COURT:    Okay.   And then what else?

   9                MR. YOON:    The security check itself.      I guess

  10    that was -- the Court's characterized it as the walking from

  11    the time clock to the security check area and the security

  12    check process.

  13                THE COURT:    All right.

  14                Mr. Kemple, do you have any disagreement with

  15    respect to that?

  16                MR. KEMPLE:    I do, Your Honor.     Those claims were

  17    not in --

  18                THE COURT:    Hold up.   You need to speak at the

  19    lecturn because the court reporter is not getting it down.

  20                MR. KEMPLE:    Thanks.   Forgive me.    Sorry.

  21                I do, Your Honor.     So I think I heard three added

  22    claims now:    A security checkpoint individual claim,

  23    interruption of 30-minute meal break claim, nonpayment of

  24    wages for walking time claim.

  25                So those claims were not in the pretrial


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   1    submissions, they were not jury instructions on those.           I

   2    think those are, basically, attempted to be added now two

   3    weeks before trial.      So we have that fundamental objection.

   4                I also just raise a concern here in that we

   5    bifurcated the class claims from the individual claims, and

   6    the Court's ordered that -- point of clarification.           Is the

   7    12 hours for the class presentation, or is that going to be

   8    divided amongst the first trial and then the second trial?

   9                THE COURT:    My intention was 12 --

  10                MR. KEMPLE:    That's it.

  11                THE COURT:    That's it.

  12                MR. KEMPLE:    We'll have to figure out how much

  13    will go into the second trial and how much will go into the

  14    class trial?

  15                THE COURT:    Correct.

  16                MR. KEMPLE:    Got it.

  17                THE COURT:    I tend to agree with Wal-Mart on this

  18    point, and I was going to talk about this in a moment.           Let

  19    me just go through my notes here.        I am sorry.    I just lost

  20    a page.

  21          (Brief pause in the proceedings.)

  22                THE COURT:    Let me just go through what I have

  23    gathered from, I guess, the latest filing by Mr. Yoon.           I

  24    guess it was filed in the last couple of days specifically

  25    as it relates to the PAGA theory and the claims.          Forgive


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    1   me.    My computer is acting up.

    2               Let's talk about -- first I would characterize it

    3   as the PAGA theories relating to the uncertified claim.

    4               So Wal-Mart's complaining that plaintiff is now

    5   seeking to proceed with those PAGA claims that I believe

    6   they represented to the Court were not at issue.           And I

    7   thought the Court had already found that those claims were

    8   unmanageable.     So I tend to agree with the defense on this

    9   one.

   10               I thought specifically the plaintiff had said that

   11   these unrelated claims were irrelevant, and I think we

   12   were -- at least maybe two sides of the coin were left with

   13   the impression that the plaintiffs were not going to pursue

   14   those theories in this case.       And so my tentative is to deny

   15   the plaintiffs' attempt to pursue any PAGA penalties for

   16   uncertified underlying claims.

   17               Do you wish to be heard, Mr. Yoon?

   18               MR. YOON:    Yes, Your Honor.     May I use the

   19   lectern?

   20               THE COURT:    Yes.

   21               MR. YOON:    So what the plaintiffs had agreed to

   22   was with respect to those claims that were decertified which

   23   was the individual claims, essentially, the second meal

   24   break that they weren't waived, the rest break issue with

   25   that ten minute -- net ten-minute issue.


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    1               Those claims that were not certified at the time

    2   of the motions for summary adjudication, at that point, the

    3   security check claim was certified.         Plaintiffs didn't

    4   characterize the non -- irrelevance of the noncertified

    5   claims in that term.

    6               This Court did in its order in the -- I don't know

    7   if it's a footnote but the text at the bottom of the order.

    8   But what the plaintiffs characterize is the specific claims

    9   which also happen to be the claims at that point that were

   10   not certified, the plaintiffs are not pursuing.

   11               But for the claims that were certified, namely the

   12   security check, which is the issue here, that claim

   13   plaintiffs always contended was part of PAGA.

   14               And the elements to -- the defendant has made a

   15   judicial estoppel argument, and from our point of view the

   16   judicial estoppel argument doesn't hold any water because

   17   there are several elements of judicial estoppel which I like

   18   to go through, which is that the same party is taking two

   19   positions.

   20               Our position has always been that we are going to

   21   seek PAGA penalties for the discouraging of meals,

   22   nonpayment of overtime for AWS, 203, 226, as well as at that

   23   time the certified claim for the security check and the

   24   walking to the security check.

   25               The second position of -- the second element is


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    1   the position was -- well, there was no position taken, but

    2   it had to be a quasi-judicial setting, successfully

    3   asserting the first position, two positions are totally

    4   inconsistent.     It's not inconsistent to have a PAGA case and

    5   a class.    The first provision -- the last part is the first

    6   position was not taken as a result of ignorance, fraud, or

    7   mistake.

    8               And this doesn't mean ignorance in the sense that

    9   we are ignorant but sense that we didn't know.          And at the

   10   time of that statement, we didn't know that the Court was

   11   intending or would ultimately decide to grant the

   12   decertification as to the security check.

   13               At the point when we said those statements, we

   14   thought that the security check was proceeding as a class

   15   and that we would have PAGA on security check.

   16               With respect to the manageability for PAGA, as we

   17   understand, the main issue the Court has with manageability

   18   for PAGA is that the calculation of the time is unmanageable

   19   without the expert report of Dr. Kriegler.

   20               Our position is that the issue is -- and I think

   21   the defendants confuse this issue -- but the issue is

   22   whether those actions are work.

   23               If those actions, the walking and the security

   24   check constitute work, then it has to take some time, and

   25   PAGA isn't the measure of the actual harm, that PAGA is the


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    1   violation of the law with respect to nonpayment --

    2               THE COURT:    How are you going to calculate the

    3   damages for that time?

    4               MR. YOON:    I have that actually here.       It's --

    5   well, the damages for the time, we don't calculate the

    6   damages of the time because the Court said we can't.           But we

    7   can calculate the damage for the penalty at $16,412,650.

    8               THE COURT:    How do you get that figure?

    9               MR. YOON:    Dr. Kriegler has in the portions of his

   10   report that the Court has allowed to go forward at --

   11   Exhibit Supplemental Attachment 3 to the November 14th

   12   report identifies the number of pay periods in the one-year

   13   statute of limitations period, which is -- a one-year

   14   statute of limitations applies to PAGA for penalties.

   15               And that identifies the number of people and the

   16   penalty for the wage statement subclass under PAGA.           And

   17   that calculation can also be used to calculate this issue

   18   for the penalty for a pay period within which time was not

   19   paid, such as walking to the security check and the security

   20   check.

   21               The penalty under Dr. Kriegler's analysis was $50

   22   for the first pay period, 100 for the second pay period.

   23   Under 1197.1(a)(1) the penalty that we're seeking is $100

   24   for first pay period, and under (a)(2) $250 for the second

   25   pay period and subsequent pay periods.


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    1               Dr. Kriegler's analysis of the 50 and 100 can be

    2   used to calculate the 100/250 penalty for this statute

    3   because the same pay periods, and the arguments that we're

    4   making is that the issue for manageability that the Court

    5   addressed and was concerned with was that how do you measure

    6   the amount of time?      And the thing about PAGA is that it's a

    7   penalty and it's to enforce the law which is the recording

    8   of time in the payment of minimum wage.

    9               When a defendant doesn't record the time but the

   10   time is owed and the time is difficult to calculate, then,

   11   in lieu of the actual harm, this Court has the power to

   12   impose a penalty and 75 percent will go to the

   13   State of California and 25 percent will go to the aggrieved

   14   employees.    And the measurement of the harm is no longer in

   15   issue.    All we need to prove is the actual harm itself.

   16               THE COURT:    But how do you -- I am confused

   17   because I don't know how you penalize them when you don't

   18   know if it took time.      Or are you just saying, because there

   19   is a penalty, that's it?

   20               MR. YOON:    It doesn't -- we don't have to know the

   21   amount of time.     We just need to know that it took some

   22   time.    And I think whether it took some time or no time is

   23   based upon the physicality of the claim.

   24               THE COURT:    But I thought some workers said it

   25   does take time, some workers said it doesn't take time.


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    1               MR. YOON:    Those workers can say all sorts -- they

    2   can also say they were hired a certain date.          They weren't

    3   hired a certain date.      There is the legal issue of hiring,

    4   and there is the colloquial version of hiring.          It took no

    5   time, and it did take time.

    6               The question isn't whether it -- if a person is

    7   walking as fast as they can through the security checkpoint

    8   and they're walking as fast as they can on a field and it

    9   takes the same time to go the same distance in both

   10   instances, which we disagree with, your Honor -- but I'm

   11   just making this point for purposes of argument -- we

   12   fundamentally disagree that security checkpoint for any

   13   particular employee takes the exact same time as a person

   14   walking outside.

   15               But taking that as true, assuming arguendo,

   16   that -- walking in the security checkpoint we contend is

   17   subject to the control of the employer.

   18               So even though the walking speed arguably is the

   19   same speed, what they're doing while they're walking is work

   20   because they're not doing it for their benefit.           They're

   21   doing it for the employer's benefit.

   22               On top of that, the defendant identifies when they

   23   say that that on some instances it takes this equivalent to

   24   same walking speed time.       Again, defendant's argument, not

   25   ours.


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    1               But they don't say for every day in my shift when

    2   I went through security check for an entire pay period of

    3   two weeks, every single time I went through there they took

    4   no time because it just takes one instance of the

    5   security -- the metal detector beeping to cause you to have

    6   to interrupt your stride.

    7               It just takes one instance of bringing keys with

    8   you or a cell phone with you to work, one day of that pay

    9   period.    It just takes one instance of any -- bring your bag

   10   of chips, bring your hat, wearing a belt, wearing shoes that

   11   sets off the detector -- any one of those -- or jacket.            Any

   12   one of those things will require an additional bit of work

   13   so that these rare instances where persons might walk

   14   through security check the same pace as they would, arguably

   15   outside -- we just need to show -- well, the defendant can't

   16   show that this happens so consistently.

   17               What they are saying is on occasion -- and they

   18   picked in their excerpts one employee, two employees walking

   19   through on an empty time whereas the massive employees are

   20   going through security check that takes time.

   21               We can address that because two reasons.         First,

   22   the time it takes to go from the -- walking from the time

   23   clock to security checkpoint is -- we just say is time.            The

   24   time that it takes to be in the security checkpoint is just

   25   time.


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    1               The only issue is defendant's claim that there is

    2   some instances, some random instances, where a person walks

    3   through without breaking stride.

    4               We have two points.      First, that's still time that

    5   needs to be paid because it's subject to the control of the

    6   employer; and, two, it doesn't occur every day in the pay

    7   period.    There is no evidence that it occurs every day in a

    8   pay period.

    9               Logically, the inference is it doesn't occur every

   10   day in a pay period because it's a very rare instance in the

   11   first place.

   12               We have testimony from asset protection people who

   13   can say that the number of people who go through security

   14   checkpoint in this not breaking stride-type of speed is

   15   extremely rare, extreme minority; and these are the people

   16   that do the security check on a daily basis.          That's their

   17   job.

   18               THE COURT:    Let me hear from Wal-Mart on this.

   19               Mr. Kemple.

   20               MR. KEMPLE:    Thank you very much, Your Honor.

   21               I have got a bit of ground to cover on that.          I

   22   will be as quick as I can.

   23               Initially, these new noncertified PAGA claims that

   24   they're adding two weeks before are not in the pretrial

   25   statements, they're not in the jury instructions, none of


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    1   the prior submissions.

    2               When we moved for summary judgment on the PAGA

    3   claims, we moved on the basis that they were not manageable,

    4   and this is what they said to Your Honor in court.           This is

    5   not some conversation on the street.         This is to the Court.

    6               Defendants' remaining arguments, which is whether

    7   these claims would be manager, are moot.         Defendants'

    8   attempt -- and this is because they were arguing were only

    9   pursuing the class claims.       So if they're certified for

   10   class treatment, it's moot whether they're unmanageable

   11   because they're manageable.

   12               They go on to say defendants' attempt to strike

   13   the alleged unmanageable PAGA theories relating to

   14   uncertified claims is irrelevant.

   15               THE COURT:    I know.

   16               MR. KEMPLE:    You know.

   17               The Court didn't reach that question on the PAGA

   18   claims, but it did reach it in the context of the other

   19   claims that remain, and the Court found plaintiffs have

   20   failed to provide evidence to support extrapolation from

   21   individual experiences to classwide proof that is not merely

   22   speculative.     Because plaintiffs lack common evidence, the

   23   Court has no confidence that the jury will be able to do

   24   anything but speculate.

   25               THE COURT:    Slow down, Counsel, just to make sure


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    1   it gets on the record.

    2               MR. KEMPLE:    Because plaintiffs lack common

    3   evidence, the Court has no confidence that the jury will be

    4   able to do anything but speculate as to the time it takes to

    5   walk to the security checkpoint, wait in line, and go

    6   through the security check, making this case unmanageable.

    7               So they avoided the motion.       The Court found it

    8   was unmanageable in the context of the remaining claims, and

    9   now, after the pretrial submissions, they seek to add in

   10   these claims which, by the way, would need to be bifurcated

   11   from the class claims where this is not admissible evidence.

   12               Further, the damages on the PAGA claim -- so apart

   13   from -- it wasn't at issue.       They are judicially estopped.

   14   It is -- the Court has already found it to be unmanageable.

   15               In addition, they have never disclosed the PAGA

   16   damages.    I just heard for the first time, apparently, a new

   17   expert opinion that Mr. Kriegler is going to get up and

   18   testify to PAGA damages.       Not only have they never disclosed

   19   it in any disclosure in this action ever, nor is it

   20   mentioned in his expert report which counsel acknowledged

   21   when he started pointing to opinions on 226 and such.

   22               Moreover, calculation of PAGA damages is not as

   23   simple as simply looking at all the pay periods.           You have

   24   to know in which pay period a particular individual suffered

   25   a harm and then calculate the damages for that.


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    1               First, you have to know all those -- no opinion on

    2   that -- and this is a very important point I would like to

    3   make, Your Honor.

    4               The evidence is -- and as this Court has already

    5   found, huge numbers of people went through security with

    6   zero incursion of time.       Literally, the time they would have

    7   spent walking that same distance anyway.         And in fact their

    8   own expert said that in six out of eight shifts the average

    9   wait time was 0.00 minutes.       That's what their excluded

   10   expert had to say when he looked at the subject.

   11               So the question will always be -- it devolves back

   12   to the question of what's the experience of each class

   13   member going through security, which this Court has quite

   14   rightfully found, is completely unmanageable.          So for

   15   multiple reasons, these new claims should be excluded.

   16               THE COURT:    Look.   My ruling still stands.       You

   17   are not going to be able to pursue these penalties for

   18   uncertified underlying claims.

   19               Now let's move on to the next theory relating to

   20   the certified theories.       Wal-Mart points out that the

   21   plaintiffs haven't produced any evidence quantifying the

   22   PAGA exposure or liability.       Wal-Mart, basically, states

   23   that the plaintiff would need to establish each violation,

   24   have to identify the aggrieved employee to which it occurred

   25   and place that violation within a particular time period --


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    1   or pay period, I should say, and add up all those pay

    2   periods and total that sum, and none of that has happened

    3   here.

    4               Again, I am inclined to agree with Wal-Mart, and

    5   my tentative is to find that the plaintiffs may not pursue

    6   PAGA penalties as to any of those claims either.

    7               Mr. Yoon, I will give you a chance to be heard.

    8               MR. YOON:    I think on this point -- let me see if

    9   I have this correct.      The Court's tentative on the issue of

   10   PAGA is that, basically, PAGA cannot be pursued by

   11   Miss Hernandez, then.

   12               THE COURT:    Correct.

   13               MR. YOON:    Okay.   Would this be on the merits or

   14   procedural decision?

   15               THE COURT:    I am not sure I understand your

   16   question.

   17               MR. YOON:    It doesn't -- it's -- is the Court

   18   finding on a procedural basis or on the merits basis that

   19   PAGA cannot proceed by Miss Hernandez?

   20               THE COURT:    Well, I think both because you haven't

   21   raised this up until now, and I am not sure how I am

   22   supposed to make that decision based on -- I've not seen

   23   anything as it relates to this.

   24               At this point, this is just something that's

   25   coming up for the first time, and we're not going to have


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    1   this trial devolve into all these theories that I am hearing

    2   for the first time.      So I guess the short answer is as to

    3   both based on the lack of anything being presented to the

    4   Court on these issues.

    5               MR. YOON:    With respect to the certified claims,

    6   the 226, the 203, nonpayment overtime for AWS, discouraging

    7   meals, these theories have corresponding penalties in

    8   Dr. Kriegler's report.

    9               Dr. Kriegler's report can be used to identify and

   10   calculate the PAGA penalty to the extent the trier of fact

   11   finds in favor of plaintiffs at trial.

   12               If the trier of fact finds against plaintiffs at

   13   trial, then I think the Court can take that as part of the

   14   PAGA decision.

   15               If the trier of fact finds in favor of the

   16   plaintiffs at trial, then the Court can find that helpful

   17   for determining PAGA.

   18               In particular, one of the theories is that every

   19   single meal break is impeded or discouraged.          Another one is

   20   that the specific paystubs with this overtime incentive

   21   issue violate the law.

   22               Another one is people who are terminated with a

   23   wages owed are entitled to a 203 penalty.          There is a

   24   corresponding PAGA penalty, and those penalties can be is

   25   based upon the statutory penalties, and the pay periods are


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    1   already calculated as part of Dr. Kriegler's 226 analysis.

    2               The defendants want the damages calculations to be

    3   spelled out to a specific dollar sum.         In some instances,

    4   they can be.     In other instances, we can use the statutory

    5   penalty, which is less than the civil penalty and the Court

    6   could award that amount.       That amount has been calculated.

    7               So the damages are there.       It's a little early to

    8   even address it as an issue because we don't have a decision

    9   by the trier of fact for the class issues because the

   10   Court -- one of the reasons I think the Court granted or

   11   found moot the PAGA with respect to the certified claims is

   12   because the certified claims in large part are going to

   13   address the PAGA claims.

   14               And we have a separate issue for calculating that

   15   damage, but in large part it's in the interest -- there is a

   16   catchall of the Court's ability and discretion to reduce the

   17   civil penalty to a lesser amount.

   18               We have evidence of the civil penalties available

   19   in the record.     We can do those calculations for the Court

   20   at that portion of trial.       All that needs to be known really

   21   first is the violations from the trier of fact.           Then with

   22   that we can present that or maybe the Court will find that

   23   less persuasive and give a lesser amount.

   24               The Court has the discretion at that point to

   25   choose the PAGA penalty.       The Court can issue no PAGA


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    1   penalty, though we would find that unusual, but if there was

    2   a finding in favor of the plaintiffs and the class at the

    3   class trial, the Court could theoretically say, you know, I

    4   don't think there is any PAGA penalty warranted here.

    5   That's within the Court's discretion, but it's getting ahead

    6   of ourselves to get to that point now.

    7               THE COURT:    All right.    Let me hear from

    8   Mr. Kemple.

    9               MR. KEMPLE:    Thank you, Your Honor.

   10               So we'll do this, quote, at trial.        This case was

   11   filed, I believe, in 2015.       It might have been 2016.

   12               This is literally the first time, two weeks before

   13   trial, we have heard any of this.        There is no disclosure on

   14   PAGA damages.     There is no expert that's ever been proffered

   15   on PAGA damages.

   16               I hear an argument to cobble together from other

   17   expert opinions largely in part -- or in part excluded that

   18   he'll somehow be able to come up with something concerning

   19   PAGA as well that we've never seen.

   20               I heard a $16.41 million figure today.         We have

   21   never heard of this before.       None of this has been

   22   disclosed.    Calculation of PAGA damages is a different

   23   animal.    You have to peg it to the pay period at issue, the

   24   person at issue.     This should all be excluded.       I don't know

   25   how we could be charged with defending against this.


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    1               THE COURT:    The ruling stands.     I just don't see

    2   it at this point.      So plaintiffs can't pursue the PAGA

    3   claims in this matter.

    4               The next area that was raised in the filing with

    5   respect to -- I guess Wal-Mart's argument that the meal --

    6   the objective meal dissuasion claim should be decertified.

    7               On this point, Wal-Mart is contending that the

    8   plaintiffs had previously represented that they were seeking

    9   a -- to certifying the objective theory of dissuasion that

   10   could be put to a jury without the need for any

   11   individualized testimony or evidence.

   12               Wal-Mart says the plaintiffs did this to avoid the

   13   varied experience of what it takes to go through the

   14   security line.     Plaintiffs want to bring this evidence in,

   15   it appears, through their certified objective meal break

   16   dissuasion claim.

   17               I tend to agree with the plaintiffs on this one.

   18   I think it is relevant to help the jury understand the scope

   19   of the persuasion.

   20               The defense, through their cross-examination, will

   21   be able to exploit any weaknesses in the witnesses'

   22   testimony, but I am inclined to agree with the plaintiff on

   23   this.

   24               Mr. Kemple, do you wish to be heard?

   25               MR. KEMPLE:    I do, Your Honor.     Thank you very


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    1   much.

    2               So sort of flexing in response to the Court's

    3   decision, plaintiffs have now moved a proof set over to this

    4   dissuasion claim.      Before they were going to proceed by

    5   expert testimony which was excluded.         So this is a new trial

    6   plan that they are putting forward two weeks before -- and

    7   that's an important point I will return to here that we need

    8   to be able to address.

    9               If they are now going to prove the size of the

   10   mountain, the scope of dissuasion, with the same evidence

   11   set that this Court just found was unmanageable, it remains

   12   unmanageable, speculative -- and there was the other term

   13   that the Court used.

   14               What they're trying to do again is proceed on a

   15   class trial by offering individual testimony that would all

   16   have to be subject to cross-examination and mini trials.

   17   There are legions of case law holding that that is the

   18   antithesis of a class trial, but literally that is what

   19   plaintiffs propose to do.

   20               They will just use a handful of anecdotal

   21   evidences to demonstrate the size of the mountain supposedly

   22   that people have to climb, notwithstanding that so many

   23   people simply go through with no time whatsoever.

   24               THE COURT:    But shouldn't the plaintiff be able to

   25   show or at least try to show through witnesses how the


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    1   security process works?

    2               MR. KEMPLE:    Only if it's manageable under class

    3   criteria, which it is not as this Court has found.           This is

    4   a class action trial.      This is exactly the proof set the

    5   Court has found quite correctly.

    6               THE COURT:    But then -- I mean, so what would the

    7   trial look like?     Would there be no description of what the

    8   process is to go through security checkpoint?          The jury

    9   would need to know that, wouldn't they?

   10               MR. KEMPLE:    That's the problem, and that's why we

   11   respectfully believe this must be decertified.          This is

   12   exactly -- the Court has already ruled on this.

   13               This proof set is not subject to class proof,

   14   common proof.     So, yeah, what they are trying to do is

   15   something you can't do on a class action, which is just put

   16   on a bunch of individual cherry-picked testimony, a bunch of

   17   individual cherry-picked video that the Court has found that

   18   you can't do.

   19               It will just devolve to the classic mini trial,

   20   and what's worse is, if you think about it -- so the expert

   21   is not allowed to extrapolate from this stuff.          So now we

   22   are just going to do something less, just put on a handful

   23   of stuff and have the jury do this?         That's exactly what all

   24   the case law holds cannot move forward in a classwide basis.

   25               We very respectfully disagree with the notion of


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    1   objective dissuasion.      The legislature, when they want to

    2   use objective standards, they know how to do it.           In fact,

    3   in the Labor Code there is the reasonable person standard in

    4   many sections.     This is not one of them.

    5               We respectfully disagree with it.        But if their

    6   proof on this is going to be the very individualized stuff

    7   that the Court has already found -- I mean, plaintiffs have

    8   failed to provide any evidence to support extrapolation from

    9   individual experiences to classwide proof that is not merely

   10   speculative.

   11               Because plaintiffs lack common evidence, the Court

   12   has no confidence that the jury will be able to do anything

   13   but speculate as to the time it takes to walk through the

   14   security checkpoint.      That's exactly now what they are

   15   trying to do, and that cannot stand.

   16               So we would request that this be decertified.          Now

   17   that they have shifted their trial plan to something new,

   18   which brings me back to my original point, if we are going

   19   to have a shift in trial plan, we need to have an

   20   opportunity here to address that.

   21               No expert -- in fact, plaintiffs admitted that in

   22   order to have statistically significant testimony, by their

   23   math you need 350 people to take the stand.          They're

   24   proposing at most they have got 23 putative class -- this

   25   needs to be rejected, Your Honor.        This is exactly what the


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    1   Court has already found is not amenable to class treatment.

    2   They can't now import it into another cause of action two

    3   weeks before trial.

    4               THE COURT:    Mr. Yoon, let's hear from you.

    5               MR. YOON:    In Tyson versus Bouaphakeo the Supreme

    6   Court approved the trial where it was a donning and doffing

    7   case, and in the dissent the dissent summarized the majority

    8   point of view which said:

    9                           (Reading:)    In the majority's view,

   10               Mt. Clemens established that, if the employer

   11               did not record the time the employees spent on

   12               compensable work, employees can use

   13               representative evidence --

   14               THE COURT:    Slow down.

   15               MR. YOON:    Sorry, when I read --

   16                           (Reading:)    (1) if the employer did

   17               not record the time that employees spent on

   18               compensable work, employees can use

   19               representative evidence to establish the

   20               employer's liability; and (2) employees can

   21               use the experiences of a subset of employees

   22               to establish the experience of all of them if

   23               each employee worked in the same facility, did

   24               similar work, and was paid under the same

   25               policy.


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    1               First, there was no measure of time for the

    2   security checks, which is the issue for whether they

    3   dissuade.    Actual word -- the Court's ruling will -- the

    4   actual terminology.      But -- so that part is agreed that that

    5   part is unpaid, and there is no record.

    6               Number 2, we can use the experience of a subset if

    7   they all work in the same facility, which they did, unless I

    8   am hearing some new facts.       They did similar work.      The

    9   security check is the same for everybody unless you are a

   10   manager which is outside of our class.

   11               So they all had to go through security check, and

   12   they're all paid under the same policy, which is they

   13   weren't paid.     So they're all not paid under the same

   14   policy.

   15               Under the defendants' -- it cannot stand argument,

   16   there is no class action that could ever stand.           Defendants

   17   say that with respect to this is the first time -- the Court

   18   certified this issue at oral argument, after oral argument,

   19   and the issue then was that we would use the same evidence

   20   that showed the security check process to show that the

   21   security check dissuades the class members from taking a

   22   meal break or interferes with their rights to leave the

   23   premises.

   24               We still are going to use that same evidence, but

   25   we'll have less of it because we don't -- we're not


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    1   measuring the time.      We're just showing the process.       The

    2   defendants would prefer this trial to be just their

    3   witnesses.

    4               The defendants aren't excluding their managers

    5   from testifying about the security check.          What it will be

    6   will be a trial of defendants' witnesses testifying from

    7   Wal-Mart's point of view anecdotally and no evidence by

    8   plaintiffs.

    9               THE COURT:    All right.    Thank you, Mr. Yoon.

   10               Like I said, I have heard the arguments on both

   11   side.

   12               Mr. Kemple, if you absolutely feel you need to say

   13   something, go ahead.

   14               MR. KEMPLE:    Tyson, there was an expert who

   15   testified that's not the case here -- it's an FLSA case.

   16   This Court has already distinguished Tyson.          We're not

   17   saying you can never do a survey -- you understand.

   18               THE COURT:    I understand.     But I do think on

   19   balance the witnesses can describe generally what the

   20   security process is.      But I'm not going to allow them to get

   21   into the time issue.      So I am going to allow those witnesses

   22   to testify.

   23               Let's take a five-minute recess to give our

   24   court reporter a break, and we'll come back and deal with

   25   the rest of this.


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    1               THE CLERK:    All rise.    This Court is in recess.

    2         (Recess taken 9:59 a.m. to 10:11 a.m.)

    3         (The Court heard an unrelated matter.)

    4               THE CLERK:    Recalling CV 17-1415-AB, Chelsea

    5   Hamilton versus Wal-Mart Stores, Inc., e al.

    6               THE COURT:    Everyone is back.

    7               So the next matter I wanted to discuss in that

    8   memo I guess the defendants' contention that the plaintiffs,

    9   Miss Hamilton and Miss Hernandez, are pursuing individual

   10   claims that were not in the initial pretrial filings.

   11               Again, I'm struggling only because it does appear

   12   that that's the case.      It just seems like the cases are on

   13   the shifting sands, and it doesn't -- it does seem that the

   14   plaintiffs are pursuing claims that were not in the initial

   15   pretrial filings.

   16               So, Mr. Yoon, I guess I would like you to be heard

   17   as it relates to that.      It seems like you are adding these

   18   claims for off the clock work, unpaid overtime to the final

   19   pretrial conference order after you had said that you were

   20   not going to pursue these claims in meet and confer.           What

   21   am I missing here?

   22               MR. YOON:    I'm not familiar with that last point,

   23   Your Honor.     Our position has been that the case is

   24   certified and that we should proceed with the certified

   25   case.


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    1               We filed the pretrial conference documents based

    2   upon that.    Subsequent to filing the pretrial conference

    3   documents, the Court issued the motion for summary -- issued

    4   its rulings, and that changed the character of the case.

    5               What the defendant is suggesting here is that a

    6   class certification will serve to deny the plaintiffs their

    7   substantive rights under these points that were originally

    8   certified and now decertified because the plaintiffs wanted

    9   to proceed with the security check for themselves and the

   10   class -- they were appointed class representatives to

   11   proceed for themselves and the class.         Their proof for

   12   themselves would be proof for the class, and they would

   13   receive a payment just like every other class member because

   14   that's what they were, representatives as well as class

   15   members.

   16               Then by decertification they lose their right to

   17   proceed, a nonsubstantive right, to proceed for the class.

   18   But the defendant's now suggesting that that denial of a

   19   nonsubstantive right, which is the right to proceed as a

   20   class representative, is now a denial of their due process

   21   right to a trial.      So now they have lost their right to a

   22   trial for a claim they properly pled because they lost

   23   certification and --

   24               THE COURT:    I guess the question I will ask is did

   25   you confirm -- or at least Wal-Mart is saying you confirmed


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    1   during a meet and confer effort that you were not going to

    2   pursue these claims.      Is that incorrect?

    3               MR. YOON:    We were always -- we filed class

    4   certification motion to pursue these claims.

    5               THE COURT:    All right.    Let me hear from

    6   Mr. Kemple.

    7               MR. KEMPLE:    I believe it's undisputed,

    8   Your Honor, the pretrial conference does not contain these

    9   claims.    I would be surprised if I heard a dispute on that.

   10               It was represented to us that, to the extent they

   11   weren't certified, these claims were not going to be pursued

   12   by the individuals.

   13               I also note that, consistent with all of that,

   14   again, we have never received any disclosure of any sort as

   15   to what they are claiming on these -- what I thought had

   16   been excluded, but we're now talking about -- what I think

   17   will be excluded -- I hope will be excluded claims.           We

   18   don't know what we're up against here.

   19               THE COURT:    Part of it, I am just going to tell

   20   you, Mr. Kemple.     I'm not sure you are assisting in this

   21   matter by just insisting -- let me rephrase it.           I'm not

   22   sure you are helping things by insisting that the only lines

   23   of communication you are going to have with opposing counsel

   24   is in writing.

   25               MR. KEMPLE:    I have never insisted on that.


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    1               THE COURT:    It sure seems like it based on the

    2   filings I have seen.      It's question, answer.      And look.    I

    3   get it.    It's frustrating because it does seem like the

    4   plaintiff is shifting.      But at some point you guys are going

    5   to have to sit in a room and try to hash some of this out.

    6               MR. KEMPLE:    Fair.   And, Your Honor, before we

    7   filed our pretrial conference reports, we spent hours and

    8   hours and hours going over all this stuff in person, on

    9   phone, and in written exchanges.        And at that time, the

   10   representations, Your Honor, just inquired of were made to

   11   us.

   12               This re-inventing of new individual claims came

   13   later when I -- in response to this Court's order, I wrote a

   14   very detailed, very constructive proposal as to what I think

   15   should be at issue in this case and where we are and can you

   16   answer this and that and such.

   17               My questions like, "Should we revisit disputed

   18   facts" was met with literally, "No.         We proposed disputed

   19   facts already."     We're not the ones not willing to talk.

   20               And when these new claims were introduced, yes, I

   21   did say, "Please confirm that you are not pursuing these."

   22               And they said, "Oh, no, we are."

   23               And I wrote back and said, "Well, it's not

   24   disclosed" -- all the points I am making here.

   25               So this notion that we have not been communicating


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    1   is just not accurate.      But I think it's also we certainly

    2   communicated on the germane topics concerning these

    3   individual claims quite clearly, and we have a disagreement,

    4   but in the end, look.      The pretrial conference report that

    5   was filed with this court pursuant to deadlines after

    6   exhaustive meetings did not have this.         Their jury

    7   instructions do not have any of this in it.

    8               And now two weeks before trial -- and we never got

    9   disclosures on any of this stuff.        And now two weeks before

   10   trial a rabbit is coming out of the hat.         It's just --

   11   respectfully, I believe that's inappropriate and, therefore,

   12   they should be excluded.

   13               THE COURT:    Mr. Yoon, anything you want to say in

   14   response?

   15               MR. YOON:    In these individual claims, the

   16   plaintiffs are going to say what happened to them.           It's

   17   really not that difficult.       It's individual trial.      They're

   18   often done at the Labor Commissioner's office in an hour.

   19               THE COURT:    I don't think that's the point.        The

   20   point is this is being sprung on -- for the first time, and

   21   I think there is a problem with that.

   22               MR. YOON:    Well, I just -- I disagree.       It's in

   23   the pleading.     It's in the final pretrial conference order

   24   as a class claim, but at the time it was a class claim.

   25               We were seeking 1194 for the security check for


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    1   plaintiffs and the class, not just the class.          Because if we

    2   sought it just for the class, we wouldn't have a class

    3   action because we wouldn't have a representative plaintiff.

    4   So we are seeking it for the plaintiffs and the class.            The

    5   class is decertified, but the plaintiffs' claims now just

    6   remain.

    7               It's the same jury instruction.        It's just now

    8   instead of the subclass it's their names.          We have tried to

    9   work together on new documents, but we -- I have not been

   10   able to get that.

   11               With respect to the stipulations, we had a lot of

   12   stipulations that I thought we agreed, and in the end the

   13   defendants backed out on all of them.         So now we are trying

   14   to get back on track on stipulations, but it's hard to do

   15   that because the only documents to record stipulations of

   16   fact is the joint final pretrial conference order.

   17               But in any case, all we're saying is we've always

   18   sought these claims for the plaintiffs as class

   19   representatives.     And just because the class is now

   20   decertified doesn't mean they have given up their individual

   21   claim.    Their individual claim is part and parcel of the

   22   class claim.

   23               THE COURT:    Thank you, Mr. Yoon.      Respectfully, I

   24   disagree.    I think at this stage I am going to prohibit

   25   Miss Hamilton and Miss Hernandez from pursuing the claims


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    1   for off-the-clock work and unpaid overtime in their

    2   individual capacities.

    3               Let's move on to the motions in limine.         Again,

    4   this is, in my opinion, a sign of the unproductive nature of

    5   the relationship.      We've have had a total of 12 motions in

    6   limine, many of which I think either could have been

    7   resolved during a meaningful meet and confer or just

    8   premature.    I have issued tentative rulings as it relates to

    9   the motions in limine.

   10               Does either side wish to be heard as it relates to

   11   the motions in limine?

   12               Mr. Yoon?

   13               MR. YOON:    My co-counsel, Mr. Sam Cleaver, will.

   14               THE COURT:    Mr. Cleaver.    If you could just

   15   identify which motion so I can direct -- focus my attention.

   16   And if you could, why don't you step to the lectern just to

   17   make sure you can be heard.       And feel free -- the lectern

   18   should be able to go up and down if you need it.

   19               MR. CLEAVER:    Okay.    Thank you, Your Honor.      Do

   20   you want -- I'm not -- I have divided them up with Mr. Yoon.

   21   Do you want me to go through them consecutively and do the

   22   ones --

   23               THE COURT:    Whatever ones you want to go through.

   24   That's fine with me.      Just tell me which ones we're talking

   25   about.


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    1               MR. CLEAVER:    Number 1, Plaintiffs' Number 1,

    2   Plaintiffs' Number 2 --

    3               THE COURT:    Let's just go through

    4   Plaintiffs' Number 1.      One by one.

    5               MR. CLEAVER:    Your Honor, Plaintiffs' Number 1 --

    6   I would like to make two points.        One is that Your Honor

    7   noted in the tentative that we don't know exactly what the

    8   evidence is going to be at this point.

    9               However, we -- with regard to Miss Hamilton, we do

   10   know because in -- at least in a class cert motion,

   11   defendants present evidence that they said show that she was

   12   terminated for gross misconduct.

   13               And that evidence, which I don't see how they

   14   can -- how they got to that -- how they made that

   15   determination which -- strongly dispute that she was

   16   terminated for gross misconduct since she had been on leave

   17   for several months.

   18               She had supposedly resigned a month before that

   19   happened, and they had a note from June from her supervisor

   20   that said she had been one of the top pickers.          That's all

   21   in my declaration.

   22               So we know what evidence they are going to present

   23   with regard to Miss Hamilton.

   24               THE COURT:    So the concern is they are going to

   25   present evidence that Miss Hamilton was terminated for gross


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    1   misconduct.

    2               MR. CLEAVER:    Right.    And in response, we'll have

    3   to go down the road of showing why she was --

    4               THE COURT:    Let me stop you real quick.

    5               Mr. Kemple, do you intend to introduce evidence

    6   that Miss Hamilton was terminated for gross misconduct?

    7               MR. KEMPLE:    Depending upon how the evidence comes

    8   in, quite possibly.      And the point is bias.      If you think

    9   about it, what plaintiffs are now trying to do is

   10   extrapolate from a handful of people to 5,000 people.

   11               THE COURT:    Hold on.    Let's just -- if you can

   12   help me out.

   13               MR. KEMPLE:    Sure.

   14               THE COURT:    When you say depending on what comes

   15   out at trial, what do you mean by that, and what is the

   16   evidence that Miss Hamilton was terminated for gross

   17   misconduct?     What does that entail?

   18               MR. KEMPLE:    I don't have it at the tip of my

   19   fingers exactly why.      The relevance here is she testified

   20   that she felt that she had been treated unfairly by

   21   Wal-Mart.    Obviously, and particularly a lead plaintiff,

   22   when they want to get up and testify to things, we should

   23   have the opportunity --

   24               THE COURT:    I get that.    But I want to know is it

   25   admissible evidence?      That's what I'm trying to understand.


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    1   Are you just going to say, "Isn't it true, ma'am, you were

    2   terminated for gross misconduct?"        Is there some

    3   documentation to support that?        Was there some investigation

    4   underlying that to make that finding?         I am trying to

    5   understand what the evidence will be.

    6               MR. KEMPLE:    The evidence is her testimony.

    7               THE COURT:    Whose testimony?

    8               MR. KEMPLE:    Miss Hamilton's testimony.

    9               THE COURT:    Just asking her --

   10               MR. KEMPLE:    Do you feel you were treated unfairly

   11   by Wal-Mart in connection with your termination?           Her answer

   12   is "yes."    That's the evidence of bias, Your Honor.

   13               THE COURT:    So your response is to ask her, "Isn't

   14   it true, ma'am, you were terminated for gross misconduct?"

   15   Is that --

   16               MR. KEMPLE:    No.   What we believe is relevant,

   17   Your Honor, is her feeling that she was treated unfairly.

   18   That's what's relevant is the bias that she harbors against

   19   my client.

   20               THE COURT:    Maybe we are talking past each other

   21   because I am trying to understand.        I thought the plaintiff

   22   said their concern is that there is going to be some area of

   23   inquiry of Miss Hamilton as to the fact that she was

   24   terminated for gross misconduct.        Are you going to ask

   25   questions about that?


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    1               MR. KEMPLE:    May I just make one sentence before I

    2   give you the direct answer because it's important.

    3               THE COURT:    Okay.

    4               MR. KEMPLE:    We didn't know what this motion in

    5   limine was about.

    6               THE COURT:    I get it.    You now answer my question.

    7               MR. KEMPLE:    I am trying, and I don't know is the

    8   answer to my question.

    9               THE COURT:    Do you have any evidence that

   10   Miss Hamilton was terminated for gross misconduct?

   11               MR. KEMPLE:    We do.

   12               THE COURT:    Okay.   What is that evidence?      If you

   13   don't know, just tell me.

   14               MR. KEMPLE:    I don't know.     I would defer to my

   15   co-counsel.

   16               THE COURT:    Welcome to the party, Counsel.       Come

   17   on in and let us know.

   18               MR. KEMPLE:    If you know.

   19               THE COURT:    If you know.    I am just trying to

   20   understand.     I get the notion that this may be sprung on the

   21   first time, but I want to understand what are we talking

   22   about?    We are a few weeks before trial.       I think someone

   23   should have some sense of what that answer is.

   24               MR. GERSHMAN:     Thank you, Your Honor.      Matthew

   25   Gershman for the defendants.


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    1               Standing here today what I do know is this was not

    2   pulled out of whole cloth.        There is exit interview

    3   documentation stating this as the basis.         Now, they contend

    4   that it's wrong, but what else is new; right?

    5               THE COURT:    Right.   But is there -- so there is

    6   some documentation that says terminated for gross

    7   misconduct, number one.       And, again, if you don't know

    8   that's fine.     Was there some underlying investigation that

    9   supported that finding?

   10               MR. GERSHMAN:     The answer to your first question

   11   is yes, there is a document.       It's called an exit interview

   12   form, and that's what it states.

   13               THE COURT:    Okay.

   14               MR. GERSHMAN:     Your second question, I don't know

   15   that answer standing here.

   16               THE COURT:    All right.    So the motion is denied

   17   without prejudice.      We'll deal with it when it comes to

   18   trial, but I am going to let Wal-Mart know you need to have

   19   your ducks in order as it relates to any evidence of gross

   20   misconduct.

   21               I am not just going to let you ask the question.

   22   I am going to need to see some documentation to support that

   23   before I am inclined to have any sort of testimony or

   24   questioning about gross misconduct because of the

   25   inflammatory nature of that.


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    1               MR. KEMPLE:    Your Honor, just to set aside some

    2   concern, the point is not to get into whether she was

    3   correctly or incorrectly terminated.         The germane point, as

    4   we see it, is she feels she was and she holds a grudge

    5   against Wal-Mart.

    6               THE COURT:    But you can ask.

    7               Well, there is no dispute she was terminated, is

    8   there, Counsel?

    9               MR. CLEAVER:    Yes, there is, Your Honor.

   10               THE COURT:    There is a dispute.

   11               MR. CLEAVER:    There is.

   12               THE COURT:    Tell me what that dispute is.

   13               MR. CLEAVER:    I will go back to the podium.

   14               THE COURT:    Please.

   15               MR. CLEAVER:    First, to answer your question, the

   16   dispute is that she resigned as part of her

   17   Workers' Compensation settlement on June -- in early June

   18   2017, before they terminated her for, quote, gross

   19   misconduct.

   20               THE COURT:    That's interesting.      Are you saying

   21   you have documentation showing there was a resignation

   22   before this finding?

   23               MR. CLEAVER:    Yes, Your Honor.     It's attached to

   24   my declaration as Exhibit C.

   25               THE COURT:    Okay.   So you contest that she was


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    1   terminated.

    2               MR. CLEAVER:    No, she wasn't terminated.

    3               THE COURT:    Right.   I'm saying you contest that

    4   she was terminated --

    5               MR. CLEAVER:    And we contest that she engaged in

    6   any kind of misconduct.       The entity that engaged in

    7   misconduct here is Wal-Mart.       They terminated her after she

    8   was disabled and after she filed a lawsuit.

    9               Also in response to Mr. Kemple's point that he

   10   didn't know what this motion was about --

   11               THE COURT:    I don't care about that.      We have got

   12   a lot of other things we need to deal with.

   13               All right.    So here I am just letting the parties

   14   know.    From Wal-Mart's perspective, if there is a dispute as

   15   to whether or not she was terminated versus she resigned or

   16   parted ways pursuant to the settlement, I am going to need

   17   to have documentation from both sides, actually, as it

   18   relates to that; and we'll deal with it at trial.

   19               Wal-Mart can inquire certainly as it relates to

   20   any bias the witness may have because -- as it relates to

   21   whether she was -- if she feels she was treated unfairly,

   22   fine.    If that's all you want to go through, then all of

   23   this is moot.

   24               But if there is going to be testimony or inquiry

   25   about termination versus not, I am going to need that


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    1   documentation on the eve of trial, and we'll discuss it that

    2   first evening.

    3               Are we clear on that?

    4               MR. KEMPLE:    Thank you.

    5               MR. CLEAVER:    Yes, Your Honor.

    6               THE COURT:    Great.

    7               Next motion.

    8               MR. CLEAVER:    Motion Number 2, Your Honor, exclude

    9   convictions.     We're concerned that Wal-Mart -- again

   10   Your Honor asked -- there is no evidence before us, but what

   11   we're a little bit concerned about is Wal-Mart has already

   12   shown that they're willing to take an expunged conviction

   13   that has nothing to do with the case --

   14               THE COURT:    Let me stop you there.

   15               Mr. Kemple, do you intend to offer any evidence of

   16   any convictions, whole or in part, as it relates to any of

   17   plaintiffs' witnesses?

   18               MR. KEMPLE:    The conviction that was just

   19   referenced we expressly stated both before the motion and in

   20   our opposition we are not seeking to introduce.

   21               THE COURT:    Are there any other convictions?

   22               MR. KEMPLE:    I don't know.     It depends on who they

   23   call.    Have I done a full cross-examination analysis for

   24   whoever they call?      I have not done that yet.

   25               I may cross-examine if I find a felony conviction


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    1   for wire fraud, yeah.      I don't know if it exists yet, to be

    2   honest with you.

    3               THE COURT:    Okay.   Trial is March the 2nd -- April

    4   the 2nd.

    5               MR. KEMPLE:    We have a lot going on, Your Honor.

    6   We're still trying to figure out what the claims are, and

    7   we've resolved that, and I thank you very much.

    8               THE COURT:    Okay.   So it sounds like, Mr. Cleaver,

    9   as it relates to the expunged conviction, that's not going

   10   to be an issue.

   11               If Wal-Mart intends to introduce evidence of

   12   felony convictions on the day of trial, this Court needs to

   13   know what convictions and what witnesses they intend to

   14   introduce those convictions -- what witnesses and what

   15   convictions they intend to introduce the convictions

   16   relative to that witness.

   17               Mr. Cleaver.

   18               MR. CLEAVER:    Does that also apply to arrests and

   19   the arrest records and such?

   20               THE COURT:    I would certainly hope that Wal-Mart

   21   is not going to try to introduce evidence of arrests.            But

   22   we'll cross that bridge if and when we need to.           But I think

   23   most lawyers of any sort of substance would know that an

   24   arrest, unless it's an arrest for filing a false PAGA claim

   25   at another big box store, is not going to come in.


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    1               What's the next motion, Mr. Cleaver?

    2               MR. CLEAVER:    Your Honor, Motion in Limine

    3   Number 3, to exclude testimony that workers liked working

    4   the AWS.

    5               THE COURT:    Yes.

    6               MR. CLEAVER:    The concern is Wal-Mart is trying to

    7   create a waiver.     That's not allowed under the law.

    8   California Labor Code Section 1194(a) says that -- I can

    9   quote it to you directly.

   10               THE COURT:    If you are going to quote, just read

   11   slowly so we can get this all down.

   12               MR. CLEAVER:    With regard -- it regards recovery

   13   by an employee of unpaid minimum wage --

   14               THE COURT:    You're starting off on a bad foot.

   15   Slow down.

   16               MR. CLEAVER:    California Labor Code Section 1194

   17   concerning recovery by an employee of unpaid balance of

   18   minimum wage or overtime compensation.         Section (a), says --

   19                           (Reading:)    Notwithstanding any

   20               agreement to work for a lesser wage, any

   21               employee receiving less than legal minimum

   22               wage for the legal overtime compensation is --

   23               I am paraphrasing -- is entitled to recover in

   24               a civil action the unpaid balance.

   25               So doesn't matter if they have an agreement or


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    1   not.   That's separate and apart from the AWS.

    2               What they are trying to say, is if somebody didn't

    3   vote in the AWS, if they were hired a year later or six

    4   months later and they didn't participate, as long as they

    5   liked working the AWS and they didn't have any problem with

    6   it, that's okay.

    7               But that's not what the law says.        The law says it

    8   doesn't matter if the employee agrees or not or is happy or

    9   not.   You still have to pay them the overtime compensation

   10   they are due.

   11               Understand that the Court is concerned that there

   12   is this issue of did they vote to repeal the AWS?

   13   Understand that, but they can ask that question without

   14   eliciting testimony that the workers would have chosen to

   15   work on the AWS no matter what or that they liked working on

   16   the AWS.

   17               THE COURT:    Help me understand a little clearer.

   18   How would you envision that coming out?         Asking whether or

   19   not they requested the vote or --

   20               MR. CLEAVER:    I would see them asking questions

   21   about did you like working four days a week?          Did you like

   22   working three days a week?       Did you like working 11 hours in

   23   one shift?    Was that better for you?       Which -- you know,

   24   questions like that.

   25               Did you mind not getting overtime as long as you


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    1   were getting 40 hours, things like that.

    2               That sets up an exception that doesn't exist in

    3   the Labor Code, and the Labor Code specifically prohibits

    4   that, if an employee says it's okay, if the employee is not

    5   bothered by you breaking the law, then it's okay to break

    6   the law.    It's kind of like a no harm, no foul exception

    7   that they are trying to create.

    8               THE COURT:    But to the extent you have any

    9   concerns on this, don't the jury instructions resolve that?

   10   The law is what the law is; right?

   11               MR. CLEAVER:    Right.    But whether -- but they're

   12   trying to elicit testimony that there is somehow this

   13   implied agreement that, if an employee doesn't care -- if

   14   the employee would have voted for the AWS any way, then it

   15   doesn't matter whether the AWS was properly adopted or

   16   properly implemented.      It just doesn't matter because the

   17   employees wanted it anyway; right?

   18               So you are not allowed to say it.        It's like

   19   saying, "It doesn't matter I get paid minimum wage.           My

   20   employees didn't care about that.        They were happy to work

   21   for less than minimum wage."       The employee being happy

   22   doesn't let you off the hook for following the law.

   23               THE COURT:    Let me hear from Mr. Kemple on this,

   24   or whomever from the defense side.

   25               MR. KEMPLE:    Thank you, Your Honor.


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    1               I can assure you, Your Honor, that we are not

    2   arguing, never would argue, never have argued that we are

    3   exempt from overtime laws because someone liked their work.

    4   That's never been suggested in any way, shape, or form.

    5               By the way, we offered a stipulation of fact that

    6   was rejected which was that no one ever requested a

    7   subsequent revote thereafter.

    8               And as the -- frankly, my point here is for all

    9   the reasons the Court stated in denying this motion in its

   10   tentative ruling, that's exactly why it should be denied.

   11               This is relevant particularly given the

   12   stipulations the fact that plaintiff have refused to provide

   13   us.   It's also relevant to the damage inquiry or the penalty

   14   inquiry, all the points the Court made.         I think I can

   15   submit on that.

   16               THE COURT:    What's the next motion, Mr. Cleaver?

   17               MR. CLEAVER:    That's all for me, Your Honor.

   18               THE COURT:    Mr. Yoon, welcome back.

   19               MR. YOON:    I am glad to be here.

   20               Like to be heard on Number 5, which is the

   21   spoliation.     I understand the Court's issue.       I understand

   22   the Court's tentative.      What we would like to focus on is

   23   there also a lesser included instruction that we sought,

   24   which is that -- the lesser evidence instruction.

   25               And the key thing here I think that is pretty -- I


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    1   think Wal-Mart highlights this issue which is this 30-day

    2   rolling period that they maintain this video.

    3               The date of -- and I think the -- this is the

    4   important part we want to argue is that the date of that

    5   letter which this Court is relying upon, those

    6   January 24th -- exactly 30 days after Christmas -- and the

    7   part of the video, the video cuts off on 11/7, November 7th,

    8   just before the peak season.

    9               The video that we have does not have the period of

   10   time the employees -- everybody says is the peak.           This is a

   11   fulfillment center.      They deliver products directly to

   12   consumers.    The peak season for them is, everybody knows, is

   13   Thanksgiving to Christmas.

   14               So that letter comes in right after Christmas, and

   15   the video was cut November 7th.        That was the end cut time,

   16   end cut date.     So the period from November 7th to Christmas

   17   should have been there, wasn't, they had it.          You would

   18   think at least a lesser instruction should be allowed for

   19   the jury to understand why it's not --

   20               THE COURT:    The lesser instruction is what?        I

   21   would just like to hear what that would look like.           I just

   22   don't see this -- I will just say it -- conspiracy theory

   23   to, sort of, destroy all this evidence.         It's hard for me to

   24   get my head around this.

   25               MR. YOON:    The lesser instruction is this.       It's


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    1   fairly brief, CACI 203.

    2                           (Reading:)    You may consider the

    3               ability of each party to produce evidence.         If

    4               a party has provided weaker evidence when it

    5               could have provided stronger evidence, you may

    6               distrust the weaker evidence.

    7               And the weaker evidence is outside the peak, off

    8   peak; and the stronger evidence is peak.         That's really what

    9   it is.

   10               And I think the timing of it is extremely

   11   suspicious.     And in terms of spoliation, which is the --

   12   which is a little bit different, the standard in

   13   California -- I'm sorry, the standard in the Ninth Circuit

   14   is not the standard in other circuits.

   15               Here it's simply negligence.       I think I have to

   16   emphasize that we're not trying to get into the --

   17   obviously, we believe there is more, but the standard we

   18   need to show is just negligence.

   19               There is a lesser included -- I'm sorry.         There is

   20   a lesser instruction -- sorry.        And I think at least that

   21   one, it is sort of a jury instruction question, but on terms

   22   of our ability to argue -- we want to argue to the jury, you

   23   know, you are looking at off peak security checks.           You're

   24   not looking at peak security checks in terms of the burden.

   25               THE COURT:    All right.


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    1               Mr. Kemple, anything you wish to say in response?

    2               MR. KEMPLE:    I will defer to Mr. Gershman.

    3               THE COURT:    Mr. Gershman, go ahead.

    4               MR. GERSHMAN:     Thank you, Your Honor, I will be

    5   brief because I agree with everything in Your Honor's

    6   tentative.    And what stands out to me about what you just

    7   heard is none of that addresses the problems with their

    8   motion that Your Honor has stated in the tentative.

    9               So the procedural defects, no meet and confer.

   10   Literally no evidence in support of their motion.           I have

   11   never seen a broad sweeping sanctions motion or even a small

   12   sweeping sanctions motion where there is not a single

   13   declaration, exhibit, affidavit, no evidence whatsoever.

   14               Substantively, it's all ad hominem.        They want to

   15   put on to the jury a whole discovery dispute where they are

   16   going to attack prior counsel, current counsel.           It's all

   17   ad hominem, and this Court considered it actually in depth.

   18   It's stated in the order regarding the experts and rejected

   19   all these ad hominem attacks.        I don't have to quote them

   20   back to Your Honor.

   21               Regarding the so-called lesser evidence

   22   instruction, the CACI 203 -- we explained this in our

   23   opposition to the motion -- is based expressly -- this is

   24   all in the annotations -- based expressly on California

   25   Evidence Code statute which is not in the Federal Rules of


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    1   Evidence.

    2               That instruction doesn't apply here, though we can

    3   take it up at the charge conference, but the point here is

    4   they can't just launch into airing what is a discovery

    5   dispute before the jury.

    6               THE COURT:    Okay.   Thank you, Counsel.

    7               For the plaintiffs' side, any other motions you

    8   wish to address?

    9               MR. YOON:    On Number 6's clarification -- I think

   10   this is what the Court is saying -- but Mr. Alvarado could

   11   explain his prior testimony -- the motion in limine was

   12   about the 30(b)(6) testimony.        And Mr. Alvarado was a

   13   30(b)(6) witness.

   14               He made some statements, and it looks like from

   15   the Court's tentative that he can explain those statements.

   16   Our motion in limine is really focused on other people

   17   explaining his statements that aren't the designated

   18   30(b)(6) witness.

   19               He can explain himself, but other people can't

   20   explain for him what he meant because they aren't the

   21   designated 30(b)(6) witness.

   22               THE COURT:    Wal-Mart, I am going to ask you, do

   23   you intend on having other witnesses explain what

   24   Dr. Alvarado meant?

   25               MR. KEMPLE:    We will not be asking other


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    1   witnesses -- you heard that testimony:         What did he mean?

    2   We will have other witnesses testifying there were ten votes

    3   and only ten votes, which is exactly what Mr. Alvarado

    4   testified to in his deposition.        And in the vague question

    5   that was posed to him clearly that's what he intended, but

    6   he would be the one that could clarify his intent in the --

    7               THE COURT:    He can testify.

    8               MR. KEMPLE:    Of course, yeah.

    9               THE COURT:    I don't see this as an issue.       Okay.

   10               Anything else further, Mr. Yoon?

   11               MR. YOON:    Another pretrial management, not on

   12   motions in limine.

   13               THE COURT:    From the defense side on the motions

   14   in limine.

   15               MR. KEMPLE:    Yes, thank you, Your Honor.       We won't

   16   go through all of our motions in limine.         And we agree there

   17   are some procedural things where we've reached agreement

   18   that I think will be very helpful for the Court.           We'll get

   19   to in a moment.

   20               There were just two motions in limine I wanted to

   21   touch on very briefly.      The first is our motion in limine,

   22   the Daubert challenge to Mr. Kriegler.

   23               THE COURT:    Number 1.

   24               MR. KEMPLE:    Number 1.    The only point I want to

   25   make, Your Honor, is this:       You cannot clothe someone in the


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    1   robe of an expert if they are not providing scientific

    2   expert testimony.

    3               All that Mr. Kriegler is proposing to do is act as

    4   a calculator, that's it.       And we've cited a number of cases,

    5   I would focus on Advanced Drainage Systems in our motion.

    6                           (Reading:)    Excluding expert's "lost

    7               profits" opinions where the purported analysis

    8               was only "straightforward" math and "lacked

    9               analysis of the factors that could affect

   10               sales," explaining expert testimony is not

   11               necessary to --

   12               THE COURT:    Slow down.

   13               MR. KEMPLE:    (Reading:)

   14                           Explaining, quote, "expert testimony

   15               is not necessary to assist jurors with basic

   16               arithmetic."

   17               Waymo, another federal court decision we cited to

   18   the Court.

   19                           (Reading:)    Other than grade-school

   20               arithmetic, however, the expert did not apply

   21               any coherent principle, methodology --

   22               THE COURT:    Counsel, if you order this transcript,

   23   there are going to be a lot of unintelligibles.

   24               MR. KEMPLE:    I am going for do better, starting

   25   right now.    Quote.


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    1                           (Reading:)    Other than grade-school

    2               arithmetic, however, the, bracket, [expert],

    3               close bracket, did not apply any coherent

    4               principle, methodology, theory, or technique,

    5               much less one possessing any discernible

    6               indicia of reliability.      Instead, he made the

    7               same arguments that lawyers can make based

    8               upon other evidence.

    9               Goes on to say just acting as basic arithmetic is

   10   not the stuff of expert opinion.        Court can read it itself.

   11               That's all that Mr. Kriegler is proposing to do.

   12   And our concern is not that math is impermissible in a court

   13   of law.    Math is important.     But he should not be clothed in

   14   a robe of an expert.      That is not expert testimony, Your

   15   Honor, and that's my basic objection there.

   16               THE COURT:    What, if any, points does the

   17   plaintiff wish to make in response?

   18               Let me ask you, Mr. Yoon, is Dr. Kriegler

   19   testifying just his own personal knowledge or --

   20               MR. YOON:    He has no personal knowledge except

   21   what he got through the documents we provided him.           He's not

   22   testifying -- he's never been to the facility.

   23               THE COURT:    Okay.

   24               MR. YOON:    He did look at a lot of video, but

   25   that's past.


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    1               What this is, I heard basic arithmetic, grade

    2   school arithmetic.      The numbers Dr. Kriegler has compiled

    3   are from large data sets, and putting that together is

    4   complicated.     Dr. Newland didn't have any criticism of his

    5   methodology.     They needed a doctor to review that.        They

    6   didn't hire just any regular person.

    7               This isn't -- individual case where it could be

    8   very easy to calculate a person's two minutes a day -- while

    9   actually that case is no longer there, but the 50 percent

   10   premium for 15, 100, or 200 shifts, 50 percent premium for

   11   two hours a day, that can be calculated by a jury for

   12   Miss Hamilton or Miss Hernandez, and we'll do that for

   13   Miss Hamilton and Miss Hernandez.        But for the class of

   14   5,000-some-odd people, it's a little bit harder to calculate

   15   that 50 percent premium as it changes based upon their

   16   individual rates of pay, things like that.

   17               We heard earlier complaints about not identifying

   18   the paystubs, the hours, and all those things.          So now that

   19   we have identified those, we have a complaint that we should

   20   have used a nonexpert to do that but -- that's the point.

   21               THE COURT:    Mr. Kemple.

   22               MR. KEMPLE:    Very briefly, Your Honor.

   23               No refutation of what I just said, this is math.

   24   We heard earlier you just take the number of pay periods and

   25   the pay period, multiply by 50, you come up with an answer,


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    1   et cetera or 50 bucks or 100, whatever they're going to do.

    2               This is important.     You are wearing a robe, Your

    3   Honor.    That means something.      You understand my point.

    4   We're robing him --

    5               THE COURT:    Am I wearing a robe?      Is that what

    6   this is?    I didn't know.     Thank you for letting me know.

    7               MR. KEMPLE:    My point being we are dressing up

    8   something for the jury in a way that conveys respect, and

    9   this is truly not an expert.

   10               If this was a FRE 1006 witness, you can bring in

   11   lay witnesses to do that sort of analysis, but there you

   12   have to be -- I mean, there are requirements for that that

   13   have not been even suggested that the witness would have to

   14   do to offer it.

   15               So he may well qualify as a 1006 witness, but he

   16   should not be deemed an expert in front of the jury to do

   17   something that I can do with my calculator.          That is

   18   prejudicial and inappropriate.

   19               THE COURT:    I will consider it, but it just seems

   20   to me, Mr. Kemple, then you will just use your exceptional

   21   cross-examination skills and slice and dice and say, "You

   22   are just a calculator."

   23               MR. KEMPLE:    That's another point, Your Honor.        So

   24   they are now using him in this way.         Another point that I

   25   would hope the Court would consider in dressing him in the


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    1   robe -- we haven't had a chance to examine him.           We haven't

    2   deposed him.     We have a major timing problem with our

    3   experts as you know.      We haven't had a chance to do a

    4   rebuttal witness on him.       All the more reason why he should

    5   not be dressed up as an expert.

    6               The timing of what they have done and how they

    7   have done it has really put us behind the 8 ball here.             We

    8   are not two weeks from trial.        We are not asking for a

    9   continuance, but we have not been able to depose him on any

   10   of this stuff either.      So to in addition dress him as an

   11   expert, I believe, would be highly prejudicial.

   12               Thank you.

   13               THE COURT:    Thank you.

   14               MR. KEMPLE:    The other --

   15               THE COURT:    Yes, the other motion.

   16               MR. KEMPLE:    I am not going to go through all of

   17   our motions in limine.

   18               The other one I want to be heard on -- we really

   19   believe this is important.       Well, there are two that I want

   20   to be heard on.     They're similar points.      The first is

   21   testimony --

   22               THE COURT:    Which motion?

   23               MR. KEMPLE:    Motion in Limine Number 5.       This

   24   is -- look, we're not opposed to argument that, when someone

   25   gets an offer letter, end quote, accepts it, they are hired.


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    1   Lawyers can make legal conclusion arguments at the close of

    2   trial.

    3               The central issue, legal issue in one of their

    4   attacks on the AWS is that people who accept an offer of

    5   at-will employment, which is really important, at-will, are

    6   as of that moment employed and, therefore, should have

    7   gotten notice and an opportunity to vote.

    8               That is their argument, and it rests on a legal

    9   question of whether people were hired at that time.            Lay

   10   witnesses cannot testify to legal conclusions.          And,

   11   Your Honor --

   12               THE COURT:    Can a lay witness testify that, "On

   13   that date I thought I was an employee"?

   14               MR. KEMPLE:    Sure.   That's different.      They can

   15   testify to their subjective understanding.          But the law in

   16   this regard, Your Honor, there is a recent decision, federal

   17   district court judge, an offer contingent on a drug test,

   18   which is undisputed what this was, is not employment as of

   19   the date of the offer and acceptance.

   20               That's Brum versus Market Source 2017

   21   U.S. District Court 178, 734 Eastern District California,

   22   October 27, 2017.

   23               In addition, Your Honor, if that were the case,

   24   employers would be subject to steep fines by the IRS

   25   because, at the time of employment, you have to have


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    1   received a completed I-9.       Our position, like every other

    2   employer, is the employment begins when you fill out the I-9

    3   on the first day of work.

    4               So if this is employment as of that time, this

    5   creates an enormous problem for employers globally -- or not

    6   globally, across the United States.         That's a federal law.

    7               In addition, requirements under California law,

    8   the wage theft notice, EDD disability insurance provisions

    9   brochure, the Workers' Compensation time of hire have to be

   10   given at the time the employment relationship is formed.

   11   Nobody sends this stuff or could with a mere offer of

   12   employment that could then be accepted on the spot.

   13               There are duty of loyalty problems.        Are people

   14   now --

   15               THE COURT:    Let me stop you.     Let me hear from

   16   Mr. Yoon.

   17               MR. KEMPLE:    Can I make two brief points?

   18               THE COURT:    I will give everybody -- I just want

   19   to make sure I understand what does the plaintiff intend

   20   or -- do you intend to make any introduction of evidence or

   21   argument with respect to the hire date and the significance

   22   of that timing from when they are offered the position to

   23   when they start work?

   24               MR. KEMPLE:    I guess I'll yield.      I have a couple

   25   more points as to why this cannot possibly be employment --


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    1               THE COURT:    I will give you your time.       Trust me.

    2               MR. CLEAVER:    Your Honor, the first thing I would

    3   say is this issue was addressed in the Court's order on

    4   motion for summary judgment where the plaintiffs raised the

    5   same question on the other side and the Court denied our

    6   motion for summary judgment without ruling on whether it was

    7   employment or not.      So from that, it's a fact question for

    8   the jury.    If it's a fact question for the jury, it should

    9   all come in.

   10               THE COURT:    But, all right.     I get it.    But nobody

   11   wants to answer my questions directly today.

   12               Can you help me with my question:        What is the

   13   evidence you intend to introduce at trial?          Are you going to

   14   argue -- I am making these dates up -- January 1

   15   Miss Hernandez or Miss Hamilton got a call saying they got

   16   an offer to work at Wal-Mart, from that day forward they

   17   were employees, and they should have been given the right to

   18   vote at that time?      Is that -- is the plaintiff going to

   19   make an argument along that line?

   20               MR. CLEAVER:    It's not as straightforward as that,

   21   Your Honor.     The law is more supplemented than that.        A

   22   person can be -- yes, we would like to make that argument,

   23   but there's other arguments we can make along the same lines

   24   where a person who was hired -- we'd say hired, given an

   25   offer, engaged, given a start date, told they had to take a


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    1   drug test before they could start work -- that person for

    2   the purposes of AWS was an employee or that person was an

    3   employee.

    4               THE COURT:    Your position is that, when someone is

    5   given the offer on that date, January 1, and they have to

    6   take a test on January 4, January 7th they have to fill out

    7   paperwork but they don't start work until January 10th, your

    8   view is that they are an employee from January 1?

    9               MR. CLEAVER:    The reg on this issue, 8 CCR

   10   11070.2(d) defines employee as --

   11               THE COURT:    Say that regulation one more time,

   12   please.

   13               MR. CLEAVER:    8 CCR 11070.2(d) defines "employ" as

   14   to engage, suffer, or permit to work.         So they were engaged

   15   at the point that they accepted the offer to work there.

   16               THE COURT:    Okay.   Let's just play this out

   17   because I may have a problem, then.         The law clerk that I

   18   gave an offer to two years ago to come work here, they're my

   19   employees now?

   20               MR. CLEAVER:    No, Your Honor.     We are saying for

   21   the purposes of the AWS -- let me give you one more example.

   22   The definition of "hire" -- "hire" means to engage the

   23   personal services of.

   24               So even the word that they're using, they say you

   25   can't use this word.      But the definition of the word is to


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    1   engage.

    2               So -- and then he -- Mr. Kemple mentioned the

    3   Workers' Compensation code -- I mean the Labor Code --

    4   Workers' Compensation -- Workers' Compensation allows an

    5   employer or voluntary organization to designate people who

    6   are volunteers as employees for the purposes of

    7   Workers' Compensation coverage.

    8               Same thing here.     If -- you can say that they're

    9   employed or you could also make the argument that they

   10   should have been participants in the AWS because they were

   11   members of the work unit at that time.

   12               THE COURT:    But if you take that argument to its

   13   extension, would that mean, then, that, when someone is

   14   given an offer at Wal-Mart -- again, I just use January 1 --

   15   and they slip and fall while they're at home, are they

   16   somehow covered under insurance of Wal-Mart even though they

   17   don't start until January the 10th?

   18               MR. CLEAVER:    I don't know.     I think, Your Honor,

   19   it would depend on the circumstances and what was said

   20   and -- which is why we need to let the jury decide this

   21   question.

   22               THE COURT:    Mr. Yoon, go ahead.

   23               MR. YOON:    That will be a totally different

   24   standard.    The AWS has its own standard to -- specific to

   25   one wage order.     And I think we're getting a little bit far


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    1   afield because the question is this:         If I go to work and

    2   get hired, and they say, "Congratulations.          You're hired."

    3   Shake my hand, which hasn't happened to me before, but I

    4   have said it -- I heard it said.        I have seen it on TV.      I

    5   can't say that at trial?        I can't say -- they're precluded

    6   from using the word, "I'm hired today"?

    7               THE COURT:    No.    But I think the concern is not

    8   that.    It's just what you are going to try to argue from

    9   that, that somehow on that date, "Congratulations, I'm

   10   hired," means that I am an employee of Wal-Mart from that

   11   handshake.

   12               MR. YOON:    For purposes of vote, we are saying

   13   that the moment you have satisfied the conditions, you get

   14   to vote.    Now, if you have a -- you fail a drug test -- they

   15   might have failed a drug test, but the drug test is in 24

   16   hours.

   17               THE COURT:    Twenty-four hours of the handshake?

   18               MR. YOON:    Yeah.    Exactly.   This particular

   19   workplace, they give you have a job, they say, "Here is your

   20   job.    Do you want it?"

   21               "And how much time do I have to consider," I ask.

   22               They said, "You accept it or deny it at that

   23   moment.    If you walk out without saying yes, you don't have

   24   a job.    If you walk out and say yes, then you have to pass a

   25   drug test and a background check."


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    1               THE COURT:    Within 24 hours?

    2               MR. YOON:    If you don't submit your urine sample

    3   within 24 hours, then you don't have a job.

    4               THE COURT:    Your view is they are considered an

    5   employee from that point even though they may not start for

    6   another month?

    7               MR. YOON:    We -- our point is that the employer

    8   now has engaged this person to work, and they know who they

    9   are, and they -- they're setting the start date.

   10               And if the person -- if they know who they are and

   11   they know what they are going to do and they're going to be

   12   in the work unit, they should give them a vote.

   13               And if they set everybody up to start working the

   14   day after the vote, that looks very suspicious.

   15               THE COURT:    How is that not a legal argument?        You

   16   are going to ask the jury to decide this?

   17               MR. YOON:    We are going to ask the witness to

   18   explain the process, and the word "hire" might come in, and

   19   the jury --

   20               THE COURT:    That it was their subjective belief

   21   that they were hired?

   22               MR. YOON:    They could say, like -- I say, "What

   23   happened?"

   24               "They hired me."

   25               "What words did they use?"       All on cross-exam.


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    1   "Did they use the word hire?       Did they use the word -- did

    2   they retain you" subject to some long legalese statement,

    3   and the witness can explain what he means -- or what she

    4   means, and the jury can say, "Okay, does that count as

    5   engaged to work?"

    6               I don't know.     We filed the motion for summary

    7   judgment on it, and we don't know.        This is an issue for the

    8   jury.

    9               THE COURT:    Thank you, Mr. Cleaver [sic].

   10               Let me hear from Mr. Kemple.       If that's what

   11   happened, if the employee says, "'You are hired,' that's

   12   what I was told," I'm not sure I see what the issue is with

   13   that.

   14               MR. KEMPLE:    This is a pure legal question that

   15   needs to be decided by the Court.        Your law clerks are not

   16   in a conflict of interest when they've accepted a position

   17   to start with my firm two years from now.          They are not

   18   employed by us at this time.

   19               This is a unilateral contract.       At-will employment

   20   is a, quote -- I can quote the case law -- is a unilateral

   21   contract that begins upon performance of the job.           It is not

   22   a contract that's accepted upon offer and acceptance.

   23               And moreover, an employee's subjective

   24   understanding of whether they're hired or not does not

   25   influence whether or not they need to be included in an AWS


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    1   vote.    It's a legal question that needs to be decided, and I

    2   would propose, Your Honor, that we brief this on March 25th

    3   along with the other submissions for the Court to consider.

    4               I think the Court will conclude, as is axiomatic,

    5   that this does not create an employment relationship, merely

    6   offer and acceptance of at-will employment when they haven't

    7   actually begun, let alone had filled out a I-9 form as

    8   required by the federal government.

    9               This is a legal question.       It's an important

   10   question.    The jury should not be -- if this gets to the

   11   jury, then we have to introduce I-9 law, CCRs, all kinds of

   12   stuff and have the jury make a legal conclusion about

   13   whether or not they're employed under the circumstance?

   14               We respectfully believe this is for the judge, and

   15   we would suggest that we brief this on March 25th.

   16               THE COURT:    Do you object to testimony -- again, I

   17   don't know what's going to come out at trial, but that --

   18   Miss Hamilton says, "I interviewed, and they said,

   19   'congratulations.      You're hired,'" do you object to that?

   20               MR. KEMPLE:    I do, and here is why, here's why.

   21   Because then the jury is going to think they are supposed to

   22   be resolving exactly what plaintiffs want them to do,

   23   resolving whether or not they were hired as of the date of

   24   offer and acceptance.

   25               The only relevance of that testimony is for them


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    1   to have the jury determine a question that is purely a

    2   question of law.     I mean, the jury needs to be instructed,

    3   frankly, that hiring begins upon the performance of an

    4   at-will contract.      Otherwise, this would be a major problem.

    5               THE COURT:    All right.

    6               MR. KEMPLE:    Again, I suggest we brief it, Your

    7   Honor.

    8               MR. YOON:    Along that line, one of the elements

    9   for every one of our claims is the employer/employee

   10   relationship.     Under that argument, which isn't disputed but

   11   if it were disputed, I wouldn't be able to say, "Who is your

   12   employer?"

   13               THE COURT:    Okay.   I am going to ask that you

   14   brief this issue.      I tend to agree -- I will have you both

   15   brief this issue by March 25th.

   16               MR. KEMPLE:    The last one I want to touch on very

   17   briefly is the notion as to who implemented the AWS.

   18               THE COURT:    Which motion in limine?

   19               MR. KEMPLE:    I'm sorry, this is Number 4.

   20               THE COURT:    Number 4?

   21               MR. KEMPLE:    Yes.   So plaintiffs' opposition is it

   22   takes two to tango.      That's their entire opposition or

   23   motion, which is exactly our point.

   24               We didn't implement the AWS.       The employees didn't

   25   implement the AWS.      It is a process that requires a vote and


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    1   acceptance.     And so referring to the notion that we

    2   implemented, we unilaterally implemented an AWS, is

    3   improper.    It's not what happens.

    4               Their opposition, if you read it, it's all about

    5   it takes two to tango.      That is exactly our point.       And it

    6   is, therefore, misleading and prejudicial for them to argue

    7   to the jury and introduce evidence that we, quote,

    8   implemented the AWS.      It is a bilateral process that

    9   requires notice and a vote.

   10               THE COURT:    Mr. Yoon or Mr. Cleaver.

   11               MR. CLEAVER:    Your Honor, could you clarify

   12   what -- what would you like us to brief on the 25th, the

   13   issue of the word "hire"?

   14               THE COURT:    Yeah.   That's the issue, yes.       They

   15   take -- and specifically whether or not this is a question

   16   that should be decided by the jury or one for the Court,

   17   whether it's a legal question.

   18               MR. CLEAVER:    Thank you, Your Honor.

   19               Regarding Number 5 --

   20               THE COURT:    Number 4.

   21               MR. CLEAVER:    I think it's Number 4 -- that was

   22   Number 4.    I think we are arguing Number 5.

   23               THE COURT:    I'm sorry.    You --

   24               MR. CLEAVER:    I'm wrong.    I'm sorry.    It's

   25   Number 4.


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    1               Implement, as we said in our opposition, implement

    2   means to put a plan into operation.         We have to put a plan

    3   or system into operation.       That's what it means.      Wal-Mart

    4   implemented the AWS.

    5               They -- there was a election procedure, people

    6   voted.    There was a dispute over whether they properly

    7   conducted that, but there is no dispute that Wal-Mart, the

    8   company, implemented -- put the AWS into effect on

    9   February 6th.

   10               We don't see the prejudice to the defendant in

   11   saying that and -- which is the actual definition of the

   12   word.

   13               THE COURT:    Okay.    Thank you, Counsel.

   14               Let's see what else is there.

   15               MR. KEMPLE:    The parties have agreed, Your Honor,

   16   to submit the 226 of -- one of the claims in this case is

   17   whether or not a subsequent true-up in a 226 requires

   18   restating of all the prior -- the parties have agreed we

   19   would like to submit that claim to the Court which is a

   20   legal claim for -- to brief that to the Court rather than

   21   burden -- there is really not much to try here.

   22               We can stipulate that the pay statement said this,

   23   that, and the other thing.        So I think we are in agreement.

   24   I think we just need some guidance from the Court as to when

   25   you would like to -- if you're amenable, when the Court


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    1   would like to see that briefing.

    2               THE COURT:    I want to, emphasis on the word "I

    3   want to," make this as smooth a process as possible.           It's

    4   been a challenge.      But can you do that by on or before the

    5   25th, or do you need more time?

    6               MR. KEMPLE:    We can do it, Your Honor.

    7               THE COURT:    All right.    So, then, let's do it by

    8   the 25th.    Okay.

    9               What else?

   10               MR. KEMPLE:    The rest I think that we can address,

   11   at least what we had, we can address in our filings on the

   12   25th.

   13               THE COURT:    Okay.   Mr. Yoon.

   14               MR. YOON:    There is -- one of the hurdles we have

   15   for jury instructions is the burden of proof on the AWS.

   16   And it's not clear to us -- we think it's clear, but it's

   17   not clear to the defendants.       So we don't have an agreement

   18   as to who has the burden on the AWS.

   19               We understand the Court's language in the orders

   20   earlier with respect to the exemption language, but our

   21   point of view -- and we have cases if the Court would like

   22   to hear it.

   23               THE COURT:    Not now.    If this is an issue you guys

   24   can't work out, submit briefing on it on the 25th, and I

   25   will make a decision come day of trial.


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    1               MR. YOON:    Thank you.

    2               Another question, which is just housekeeping, is

    3   how many hours can we expect each day?

    4               THE COURT:    On April 2nd, the week we're starting,

    5   April the 2nd.     Let me look at the calendar here.        I don't

    6   think I have any major conflicts that week.

    7          (Brief pause in the proceedings.)

    8               THE COURT:    The only possible conflict is that

    9   there may be -- I have a meeting on April 4th between -- I

   10   think it's about 11:30 till about 2:00 o'clock.           So we may

   11   take a longer lunch on the 4th, but you can expect to be

   12   here -- we'll start at 9:00 and go till 5:00 or so every

   13   day.   On average, particularly with this case given the

   14   back-and-forth amongst the parties, we average anywhere from

   15   between 5 1/2 to 6 hours per day, giving the jurors breaks

   16   and things of that nature.

   17               So we'll go Tuesday, Wednesday, Thursday.         I have

   18   my normal calendar on Friday.        So we won't have trial on

   19   Friday.    If it goes into the following week, we'll start on

   20   Monday the 8th and continue until the jury gets the

   21   verdict -- until the jury gets the case I should say.

   22               MR. YOON:    One reason I raise this is because the

   23   Court suggested -- raising one of the issues in the first

   24   evening with respect to the plaintiffs, and I was

   25   anticipating putting on my first witness that first day.


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    1               THE COURT:    What's the issue?

    2               MR. YOON:    I think it was about the past criminal

    3   history, I think.      I don't remember exactly, but there was

    4   an issue the Court was deferring to -- I have to check -- on

    5   the first evening, that I guess the first day at

    6   5:00 o'clock, and I was wondering if the Court thinks we're

    7   not going to be putting on the first witness that first

    8   day --

    9               THE COURT:    No, I anticipate the jury will be in

   10   the box, we will have selected a jury by noon.

   11               MR. YOON:    That was my assumption as well.       So I

   12   just wanted to -- okay.       That's fine.

   13               THE COURT:    I'm not sure I understand what your --

   14               MR. YOON:    I was just concerned that, if

   15   Miss Hernandez -- or I think it was Miss -- I forget which

   16   witness, but if one of our plaintiffs has an issue before

   17   they take the stand and we were going to address that that

   18   evening, I was concerning because I thought that --

   19               THE COURT:    What issue do you anticipate as it

   20   relates to Miss Hernandez or Miss Hamilton?          Is it prior

   21   criminal history?

   22               MR. YOON:    I think it was prior criminal history

   23   or one of those -- the --

   24               THE COURT:    I will ask the defense again.       Do you

   25   have any information as it relates to prior criminal history


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    1   of Miss Hernandez or Miss Hamilton?

    2               MR. KEMPLE:    I don't, but if we do, we will

    3   front-load it.     They will know well in advance of April 2nd,

    4   Your Honor.

    5               THE COURT:    If there is an issue with respect to

    6   criminal history as it relates to Miss Hernandez or

    7   Miss Hamilton, please let the Court know by March 25th so I

    8   know what you intend -- to the extent you intend to

    9   introduce any evidence about that, I want to know what it is

   10   by March the 25th.

   11               MR. KEMPLE:    Understood.

   12               THE COURT:    Just so the parties know, voir dire,

   13   you have submitted voir dire questions.         I do the voir dire

   14   in these cases.     What I will do is we'll voir dire the

   15   group, I'll bring you to the sidebar, see if there are any

   16   questions that you wish me to follow up on with respect to

   17   any of the jurors, decide yea or nay, and we'll go back and

   18   do that.

   19               Once that is done, I bring you back to sidebar, we

   20   discuss challenges for cause first, depending on the number

   21   of challenges for cause, we may go into peremptories.

   22               So, for example, I fill up the box with -- I think

   23   we do 16.    Let me just double-check.       We do 16.    Depending

   24   on the number of challenges for cause, if there are still

   25   enough, even if you were to use all your peremptories, we


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    1   just go right through the line, and the jurors will be the

    2   first eight after you have done challenges for cause and

    3   peremptories.

    4               You can make your challenges for cause or

    5   peremptories from the entire panel, but you have to just

    6   mentally know which will be your first eight because, after

    7   all the peremptories are done, I will pick the first eight

    8   jurors.

    9               Does that make sense?      Does either side have any

   10   questions about that process?

   11               Mr. Yoon?

   12               MR. YOON:    This seems familiar.      Is this also

   13   identified in one of the Court's standing orders?

   14               THE COURT:    That's a good question, and I don't

   15   know.    But I don't know, honestly.      But I am trying to

   16   explain it to you.

   17               MR. YOON:    I understand.

   18               THE COURT:    Mr. Kemple.

   19               MR. KEMPLE:    The first eight, the jurors will be

   20   assigned numbers.      So it will be the first eight is the

   21   lowest eight numbers?

   22               THE COURT:    The jurors will not be assigned

   23   numbers, but we will pick the first eight.

   24               MR. KEMPLE:    When you say "the first eight," in

   25   order of seating?


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    1               THE COURT:    Right.   So, for example, the top deck.

    2   Let's look at the jury box for a moment.         Let's say after

    3   you have done your peremptories and you have kicked off

    4   Number 2, Number 4, and Number 10 and we've done all the

    5   peremptories.     The jurors will be the first eight.

    6               MR. KEMPLE:    If I -- simple question is, just

    7   rather than ask it at trial.       Number 1 is the back row, and

    8   then we go up to Number 6 over there, and then 12 through

    9   whatever?

   10               THE COURT:    Yes.   1 through 8 is the top row

   11   starting at the top shelf closest to me.

   12               MR. KEMPLE:    Got it.

   13               THE COURT:    All right.    Okay.   Jury instructions,

   14   again, I am going to ask that you meet and confer in person

   15   to try to resolve these issues as best you can.           Whatever

   16   you can't, let me know.       I will ask you to file an Amended

   17   Disputed Instructions by March 25th.

   18               And I don't think I have anything else we need to

   19   discuss other than I would hope that come the trial we will

   20   be able to just, for lack of a better term, press play and

   21   move forward.

   22               Mr. Yoon.

   23               MR. YOON:    One issue is -- that I forgot to

   24   raise -- I'm sorry.      Is that the class definition currently

   25   starts July 31st, but Dr. Kriegler's calculation starts with


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    1   July 13th, and it's in the papers.

    2               I don't think it's a terribly large issue, but

    3   having -- the Court truncated the class period to a period

    4   that's a bit difficult --

    5               THE COURT:    Is this date disputed at all from the

    6   defense?    Or do you want to talk about it amongst yourselves

    7   before you decide if it is an issue?

    8               MR. KEMPLE:    We will happily take the shorter

    9   class period, of course.

   10               MR. YOON:    This is longer class period by about

   11   two weeks.

   12               THE COURT:    Say the dates again, please.

   13               MR. YOON:    The Court's truncated the class period

   14   in the last decertification motion to the 31st of July.

   15   Earlier it stretched further past.        But the date we have for

   16   the first clock-in is July 13th.

   17               MR. KEMPLE:    Right.    So it's a shorter period.

   18               MR. YOON:    July 13th goes back further than

   19   July 31st.

   20               THE COURT:    Right.    But I said July 31st, and you

   21   are asking whether or not you can add an additional two

   22   weeks.

   23               MR. YOON:    Well, yeah, go back further back -- the

   24   original class period was --

   25               THE COURT:    You are asking to amend the class


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    1   definition.

    2               MR. YOON:    To July the 13th.

    3               THE COURT:    You need to talk about that.

    4               MR. KEMPLE:    We'll do that on March 25th.

    5               THE COURT:    Anything further, Mr. Yoon?

    6               MR. YOON:    No, Your Honor.

    7               THE COURT:    Mr. Kemple?

    8               MR. KEMPLE:    Thanks for your patience, Your Honor.

    9               THE COURT:    All right.    You can ask around.

   10   Generally speaking, I like to think I am fairly easygoing,

   11   but my patience wears thin when we are in trial because we

   12   have got eight folks here that don't need to be here.            Many

   13   instances they don't want to be here, and I'm not trying to

   14   waste their time.

   15               So you have got some time here between now and

   16   then.    I recognize both parties need to have vigorous

   17   advocates on their behalf, but you need to meet and confer

   18   and try to whittle down these issues.         Otherwise, it's just

   19   going to be a long trial.       We'll be here late at night.

   20               Just FYI, there is no AC after 5:00 o'clock.          It

   21   is what it is.     I'm fine.    I'm used to it, but I'm just

   22   letting everyone know, if we need to be here 8:00, 9:00

   23   o'clock -- and you can ask other lawyers that have been in

   24   this scenario where they can't seem to get along, we'll do

   25   it.   It is my experience lawyers tend to be more agreeable


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    1   as the temperature increases.        That's unfortunate, but

    2   that's the reality if we need to deal with it.

    3               So I will see you all on April the 2nd.         Please

    4   leave the tentatives behind and have a good weekend

    5   everyone.

    6               MR. KEMPLE:    Your Honor will be issuing orders on

    7   the --

    8               THE COURT:    On the motions in limine, yes, that

    9   will probably go out on Monday for sure.

   10               MR. KEMPLE:    On the PAGA and all that stuff?

   11               THE COURT:    Yes.

   12               MR. KEMPLE:    Thank you, Your Honor.

   13         (Proceedings concluded at 11:21 a.m.)

   14                                    --oOo--

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    1                                 CERTIFICATE

    2

    3           I hereby certify that pursuant to Section 753,

    4   Title 28, United States Code, the foregoing is a true and

    5   correct transcript of the stenographically reported

    6   proceedings held in the above-entitled matter and that the

    7   transcript page format is in conformance with the

    8   regulations of the Judicial Conference of the United States.

    9

   10   Date:     March 25, 2019.

   11

   12

   13

   14                               /S/ CHIA MEI JUI _______

   15                           Chia Mei Jui, CSR No. 3287

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                    '              28 [1] 83/4      ability [3] 23/16 53/3 against [6] 5/21 22/12
                                                       2:00 o'clock [1] 75/10    53/22                    24/25 34/18 41/18
    MR. CLEAVER: [32]        'congratulations [1]
                                                       2nd [9] 4/4 4/6 4/10     able [13] 18/23 19/4      44/5
    3/10 38/18 38/25 39/4     70/19
                                                        47/3 47/4 75/4 75/5      20/17 24/18 25/21       aggrieved [2] 14/13
    40/1 44/8 44/10 44/12    'You [1] 69/11
                                                        77/3 82/3                26/8 26/24 28/12         20/24
    44/14 44/22 45/1 45/4
    46/4 46/7 47/17 48/1     -                         3
                                                                                 37/10 38/18 61/9        ago [1] 65/18
                                                                                 71/11 79/20             agree [8] 9/17 10/8
    48/5 48/11 48/15         --oOo [1] 82/14
                                                       30 [6] 6/6 52/6 55/12    absolutely [1] 31/12      21/4 25/17 25/22 54/5
    49/19 50/10 51/16
    64/1 64/19 65/8 65/12    0                          55/13 55/18 55/21       AC [1] 81/20              56/16 71/14
                             0.00 [1] 20/9             30-day [1] 52/1          accept [2] 62/4 67/22    agreeable [1] 81/25
    65/19 66/17 72/10
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